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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 1:21-CR-00358
                                    :             Judge Beryl A. Howell
 HOWARD B. ADAMS,                   :
                                    :
       Defendant.                   :
____________________________________:

                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibits that were provided to the Court and defense

counsel on March 24, 2023, via USAfx, in relation to the government’s sentencing memorandum

(ECF No. 66). These exhibits will be offered into evidence during the sentencing hearing on March

31, 2023. Because the exhibits are video clips, they are not in a format that readily permits

electronic filing on CM/ECF.

       The proposed exhibits are as follows:

       1.       Government Exhibit 1 is a clip from an open-source video from a rioter’s cell

phone. The clip is 10 minutes and 20 seconds. The events depicted in in the exhibit occurred in the

early afternoon of January 6, 2021. The relevant portions are the first two minutes, and then brief

moments at 7:55 and 10:01.

       2.       Government Exhibit 2 is a clip from an open-source video downloaded from Parler.

The clip is 1 minute and 46 seconds. The events depicted in in the exhibit occurred in the early

afternoon of January 6, 2021. The entire clip is relevant.
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        3.       Government Exhibit 3 is a clip from an open-source video downloaded from Parler.

The clip is 43 seconds. The events depicted in in the exhibit occurred in the early afternoon of

January 6, 2021. The entire clip is relevant.

        4.       Government Exhibit 4 is a clip from closed-circuit video (CCV) from the U.S.

Capitol building. The clip is one minute. The events depicted in the exhibit occurred at

approximately 2:26 p.m. EST on January 6, 2021. The relevant portion is the first thirty seconds.

        5.       Government Exhibit 5 is a clip from Inside Edition. The clip is 6 seconds. The

events depicted in the exhibit occurred at approximately 2:26 p.m. EST on January 6, 2021. The

entire clip is relevant.

        6.       Government Exhibit 6 is a clip from U.S. Capitol building CCV. The clip is eight

minutes. The events depicted in the exhibit occurred between 2:28 p.m. and 2:36 p.m. EST on

January 6, 2021. The entire clip is relevant, but the most relevant portions occur between :20 and

:50 and between 7:30 and 8:00.

        7.       Government Exhibit 7 is a clip from the body-worn camera of an officer with the

Metropolitan Police Department. The clip is 2 minutes and 49 seconds. The events depicted in the

exhibit occurred between 2:51 p.m. and 2:54 p.m. EST on January 6, 2021. The relevant portion

is the first 2 minutes and 20 seconds.

        8.       Government Exhibit 8 is a clip from an open-source video from a rioter’s cell

phone. The clip is 12 minutes and 40 seconds. The events depicted in the exhibit occurred

approximately between 2:56 p.m. and 3:08 p.m. EST on January 6, 2021. The relevant portions

are between 1:30 and 2:50 and between 11:05 and 12:40.

        9.       Government Exhibit 9 is a clip from U.S. Capitol building CCV. The clip is nine

minutes. The events depicted in the exhibit occurred between 3:01 p.m. and 3:10 p.m. EST on




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January 6, 2021. The entire clip is relevant, but the most relevant portion is between 6:15 and

8:00.

        10.     Government Exhibit 9a is a clip from U.S. Capitol building CCV. The clip is seven

minutes and 44 seconds. The events depicted in the exhibit occurred between 3:02 p.m. and 3:10

p.m. EST on January 6, 2021. The clip is from the same camera as Government Exhibit 9, for

much of the same time as Government Exhibit 9, but it includes annotations to make viewing the

video easier.

        11.     Government Exhibit 10 is a clip from the body-worn camera of an officer with the

Metropolitan Police Department. The clip is approximately 2 minutes and 29 seconds. The events

depicted in the exhibit occurred approximately between 3:06 p.m. and 3:09 p.m. EST on January

6, 2021. The entire clip is relevant.

        12.     Government Exhibit 11 is an audio recording from an interview with Defendant

Adams. The clip is approximately 40 minutes and 43 seconds. The recording occurred on January

22, 2021. The entire clip is relevant, but the portions cited in the government’s memorandum are

12:23-44, 16:30-17:00, and 18:45-19:50. The sound from 7:05 to 7:20 has been removed to protect

the defendant’s PII.

        13.     Government Exhibit 13 is a clip from an open-source video from JAYDENX. The

clip is 9 minutes and 5 seconds. The events depicted in in the exhibit occurred in the afternoon of

January 6, 2021. The relevant portion is between 6:15 and 6:30.




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       If the Court accepts these proposed exhibits into evidence on March 31, 2023, the United

States takes the position that the entered exhibits should be promptly released to the public.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY

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